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FederalRule!ofCivilPrx edure5.2 addressestlieprivacyéndsecuritycpncernsresultingfrom public
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nrresstoelectroniccouitfiles.Underthisw le,papersfiled with thecourtshould notcontain:an
individual'sfullsocialsecurity numberorfullbi% date;thefullnnm eofa person knowntbbeaminor;or
acomplçtedhO ciâ'lnrrountnùmber.A filingmayincludeonly:thelastfourdigitsofasocialsecurity
number;theyearofanindividual'sbirth;amipor'siniùals;andthelastfourdigitsofafinancialaccount
num ber.

Exceptasnoted in thisfonm plaintiffneed notsend exhibits.affidavits,grievance orwitnes:statements.or
any otherm aterialsto the Clerk'sOm cewith thiscomplaint.

In orderforyourcom plaintto befiled,itmustbe nrrom paniedbythefiling feeoran application to
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  1.    ThePartlestoThlsCom plaint

        A.    ThePlalntllts)
              Providetheinform ation below foreach plaintiffnamedin thecomplaint. Attach
              additionalpagesIfneeded.
                                                                                pc+
                     Name                 %             Werez/M 0a//<               E:.:7.7
                     A1lothernamesbywhich youhavebeen known;



                     IDNumber                        #7
                                                                      ê             #       #
                     CurrentInstitùtion
                     Address                  50 T
                                              a                p ch.            32/11
        B.    TheDefendantts)
              Providethe inform ation below foreach defendantnam ed in thecomplaint,whether
              thedefendantisan individual,agovem m entagency,an organi   o
                                                                          zation,or a
              corporation.M akesurethatthedefendantts)listedbelow areidenticaltothose
              cùntained intheabovecaption.Foranindividualdefendant,includétheperson'sjob
              ortitl:(ifknown)andcheckwhetheryouarebringingthiscomplaintagainstthem in
              theirindividualcapacity orofficialcapacity,orboth. Attach additionalpagesif
              needed.

              D efendantN o.1
                     N am e                   arde -            C0l                         .
                     Job orTitle                             ardo
                     (ifknown)
                     Shield Num ber
                                                              T   .

                     Employer                       6                     ';    y       .
                     Address               lq* GW 377- 8                   îr
                                                ,       ,             .          o y
                       ' Individualcapacity                  Officialcapacity

              DefendantNo.2
                     N am e


                                                2
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                            Job orTitle                       M ;&hz* W &rd'n
                            (ifknown)
                            Shield Num ber
                            Employer                      e               * ' lnsh               '         .t.
                            Adœess                            *
                                                                        I &
                                                              1         l       -                :05*
                                   Individualcapacity                  X officiapcapacity
                   DefendantNo.3
                            Name                                  E .L-
                            JoborTitle              D rx Wx s &#f,% r-Lieue âe
                            (ifknown)
                            Shield Num ber
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                            Employer                                         @              #     t
                            Address                                    a yw y s
                                                      / ' Cl                       c;           03q
                            $ lndividualcapacity                            Officialcapacity
                   DefendantNo.4
                                                                  Xe                      #*
                            N am e
                            Job orTitle
                            (ifknown)
                            Shield Num ber
                            Em ployer                              m4,ee AHy K 47
                            A ddress


                                  Individualcapacity                        Officialcapacity

  H.      BasisforJurlsdktlon
          Under42U.S.C.j 1983,youmaysuestateorlocalofficialsforthe:tdeprivationofapyrights,
          privileges,orimmunitiessecuredbytheConstitutionand (federallawsl.''UnderBivensv.Six
          Uns ownNamedAgentsofFederalBureauofNarcotics,403U.S.388(1971),youmaysue
          federalofficiâlsfortheviolation ofcertain constitutionalrights.




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               Areyoubringing suitàgainst(checkallf#c/apply):
               Q       Federalofficials(aBivensclaim)
                       Stateorlocalofficials(a( 1983claim)

         B.    Section 1983 allowsclaim salleging the ç'deprivation ofany rights,privileges,or
               immunitiessecuredbytheConstitutionand (federallawsl.''42U.S.C.j1983.lfyou
               aresuingundersection 1983,whatfederalconstitutionalorstatutoryrightts)doyou
               claim is/arebeing violated by state or1œ à1officials?
                                   ê-
                                    f& e J//achel 45


         C.    Plaintiffssuing underBivensm ay only recoverforthe violation ofcertain
               constitutionalrights.Ifyouax suingunderBivens.whatconstitutionalrightts)doyou
               claim is/nrebeing violated by federalofficials?




         D.    Section 1983 allowsdefendantstobefound liable only when theyhaveacted ççunder
               colorofanystatute,ordinance,regulation,custom,orusaje,ofanyStateorTerritory
               ortheDistrictofColumbia.''42U.S.C.j 1983.Ifyouaresuingundersection 1983.
               explain how each defendantacted undercolorofstateorlocallaw .Ifyou aresuing
               underBivenh explainhow eachdefendantactedundercoloroffoerallaw.Attach
               additionalpagesifneeded.

                                         ''
                                          e& e AG & g *@


  111.   PrisonerStatus

         Indicate w hetheryouareaprisonerorotherconfinedpersonasfollows(càeckallf#c/appl
                   .                                                                   ylk

         Q     Pre:ii deudnee
         Q     Civilly com m itted detainee
         E2    lm migration detainee

                                                  4
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                Convicted and sentence state prisoner
         D      Convicted and sentenced federalprisoner
         Q      Other(explain)

   lV.   Statet entofClaim
         State asbriefly aspossible thefactsofyourc% e. Describehow each defendantwas
         personally involved in thealleged wrongfulaction,along with the datesand lœ ationsofa1l
         relevantevents. You m ay wish to includefurtherdetailssuch asthe namesofotherpersons
         involvz intheeventsgivingrisetoyourclaims.Donotciteanycasesorstatutes.lfmore
         than oneclaim isassertedjnumbereach claim ànd writea shortand plain statementofeach
         claim in a separateparagraph.Attach additionalpagesifneeded.

         A.     lfthe eventsgivingrise to yourclaim arose outsidean institution.describewhereand
                when they arose.




         B.    lftheeventsgiving riseto yourclaim arosein an institution,describewhereand when
               they arose.

                D :J: cnrrv 4bns Tns4;& 4)an -                                  -



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                                    o g       cw%
         C.    W hatdateandapproximatetimedidtheeventsgivingrisetoyourclaimts)occur?
               31TuI?Prlkzy?2020                                            -



               3..* n.. - L.
                           'oop.m.

         D.    W hatarethefactstmderlyingyourclaimts)? (Forexample: FM fhappenedtoyou?
               Wàtl:id we l? WJJ'anypneelseinvolved? W/lo elseJww whathappened?)
                                        ef                     ep




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  V.    Injuries
        lfyousustainedinjuriesrelatedtotheiventsalleged above.describeyourinjuriesandstate
        whatm edicaltreatment,ifany,you required and did ordid notreceive.
                                eez
                                  vx .       acu g e,




  VI.   Relief
        Statebriefly whatyou wantthecourtto do foryou.M akeno legalarguments.Do notciteany
        casesorstatutes.lfrequesting m oney dam ages,Includethe amountsofany actualdam ages
        and/orpunitive dam agesclaimed forthe actsalleged. Explain thebasisfortheseclaim s.
                                eetw          argel @,




  VH. Exhaustion ofAdm inistrativeRem ediesAdm lnistratlve Procedures

        ThePrisonLitigationReform Act(:TLRA''I,42U.S.C.j1997e(a),requiresthatçflnloaction
        shallbe broughtwith respectto prison conditionsundersection 1983ofthistitle,orany other
        Federallaw,byaprisonerconfinedinanyjail,prison,orothercorrectionalfacilityuntilsuch
        administrativeremediesasare availableare exhausted.''
        Adm inistrativeremediesare also known msgrievanceprocedures. Yourcasemay be
        dismissed ifyouhavenotexhausted youradm inistrativerem edies.


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         A.     Didyourclaimts)arisewhileyouwerecov nedinajail,prison,orothercorrectional
                facility?
                       Y es
                Q      No

                lfyes,namethejail,prison,orothercorrectionalfacilityWhereyouwereconfinedat
                thetimeoftheeventsgivingrisetoyourclaimts).           t.        .a
                    Dade c           hbnals /ps/,' ion                  D c.I


         B.     Doesthejail,phson,orothercorrectionalfacilitywhereyourclaimtslarosehavea
                pievanceprocedure?
                       Y es
                D      No
                D      Do notknow

        C.     Doesthegrievanceprœ edureatthejail,prison,orothercorrectionalfacilitywhere
               yourclaimts)arosecoversomeor21o?yourclaims?
               Q       Yes
                       No
               D       Do notknow

               lfyes,which claimtsl?




        D.     Didyoufileal evancein thejail.prison.orothercorrectionalfaiilitywhereyour
               claim ts)aroseconcem ing thefactsrelating to thiscomplaint?
                      Yes
               Q      No




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         '      Ifno,did you filea grievance abouttheeventsdescribed in thiscomplaintatanyother
                jail,prison,orothercorrectionalfacility?
                       Yes
                D      No

         E.     If you did file a grievance:

                1.     W heredid you filethegrievance?
                       Dg& c.1                                            -



                       n msAa c./



                2.     W hatdid you claim in yourgrievance?
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                3.     W hatw asthe result,ifany?
                                '
                                    .      e - c. c                   '        24     . .: .




                4.     W hatsteps,ifany,did you taketo appealthatdecision? Isthegrievance
                       processcompleted? lfnot,explainwhynot.(Describeallelbrl.
                                                                              çtoappealto
                       thehighestlevelofthegrievanceprocess.)
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           F.       Ifyou did notfilea grievance:
                    1.           Ifthereare anyreu onswhy you did notfilea grievande.statethem here:




                    2.           lfyou didnoth1eagrievancebutyoudidinform officialsofyourclaim,state
                                 who you informed,when and how,and theirresponsé,ifany:
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           G.       Pleasesetforth any additionalinform ation thatisrelevantto theexhaustion ofyour
                    adminiseativerem edies.
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                     . v.'                                                :                      $,                  *.
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                    T//J #VaCAV 3S H hlblf
                   (Note.
                        .You= yattachasexhibitstothiscomplaintanydocumentsrelatedtof#e
                   exhaustionofyouradministrativeremedies.)
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          n e ççthreestdkesrule''barsaprisonerfrom bringing acivilactionoran apptalin federal
          courtwithoutpaying thesling feeifthatprisonerhas'<on thfeeormorepriorœ ca ions,while
          incarceratedordetainedinanyfacility,broughtanactionorappealinacourtoftheUnited
          Statesthatwasdism issed on the p oundsthatitisfrivolous,m alicious,orfailsto stateaclaim
          upon which reliefm ay be p anted,unlesstheprisonerisunderimminentdangerofserious
          physicalinjury.''28U.S.C.j 1915(g).
          To the bestofyourknow ledge,have you had a case dism issed based on tllistçthree strikes
          rule''?
                   D             Yes
                                 No




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        '
            Ifso,statewhich courtdism issed yourcase,when tllisocce ed,and attach acopy ofthe
            orderifpossible.



            A.    Haveyou filed otherlawsuitsin stateorfederalcourtdealing with thesamefacts
                  iùvolvedtnthisaction?
                  Q       Yes
                      ,   No

            B.    lfyouranswerto A isyes,describe each lawsuitby answering questions1through 7
                  below.(fthereismore1àanonelawsuit,describe1#en'Mitionallawsuitsonanother
                  page,usingthesameformat.)
                   1.     Partiesto the previouslawsui

                          Plaintifftsl
                          Defendantts)    --                                        .-

                  2.      Court(Vfederalcourt,namethedistrict;(statecsurtnamethectwalyand
                          State)


                  3.      Docketorindex num ber



                  4.      Nam eofJudge assigned to yourcmqe
                                       #x                                                  -
                   5.     Approximate date offiling lawsuit
                                         #h
                   6.     Isthecasestillpending?
                          I
                          ZI     Yes
                                 No

                          lfno,givethe approximatedateofdisposition.


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                      7.        W hatwastherespltofthecme? (Forexample..FgJ'thecasedismissed? FJJ
                                juh mententered inyourfavor? FJ.çthecreappealed/)



            C.        Haveyoufiled otherlawsuitsinstateorfederalcourtotherwiserelatlngtothe
                      conditionsofyourimjrisènment?
                                Yes
                      Q         No

            D.        .1fyouranswerto C isyes,describe each lawsuitby answering questions 1through 7
                      below'
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                      page,using thesameformat.)
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                      3.        Docketorindex number
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                      4.        Nam eofJudge % signed to yourcase
                                UN#AAO
                      5.        Approxim atedate offiling lawsuit
                                      ne J 4 : ' 1%                                                                   -




                      6.        Isthe case stillpending?
                                Q            Yes
                                             No


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                       lfno,givetheapproximatedateofdisposition. Xf
                7.     W hatwastheresultofthecue? (Forexample: FJJthecasedismissed?
                       Fc-ç-jl
                            oigplen/entered inyourfavor? FcJthecaseappealed/)
                         5e /e- ro                                                      -




   IX.   Certiscation and Closing
         UnderFederalRuleofCivilProcedure 11,by signing below,Icertify tothebestofm y
         knowledge,information,andbeliefthatthiscomplaint:(1)isnotbeingpresentedforan
         improperpurpose,such asto hrass,cause unnecessary delay,ornepzlessly increase thecost
         oflitigation;(2)issupportedbyexistinglaw orbyanonfrivolousargumentforextending,
         modifying,orreversingexistinglaw;(3)thefactualcontentionshaveevidentiarysupportor,
         ifspecifically so identified,willlikely have evidentiary supportafterare% onable opportunity
         forfurtherinvestigationordiscovery;and (4)tlz complaintotherwisecomplieswiththe
         requirementsofRule 11.

         h.     ForPartiesW ithoutan Attorney
                Iagreeto providethe Clerk'sOfficewith any changesto m y addresswherecase-
                related papersm ay beserved. Iunderstandthatm y failure to keep acurrentaddress
                on filewith theClerk'sOfficem ay resultin the dismissalofm ycase.

                Dateofsigning: i b        ôa(20 .

                signatureofPlaintiff         ( .i                   -
                PrintedNameofPlaintiff L7l'
                                          onVq. ;T. LYAeis
                PrisonIdenuficauon#         & &%nt/7
                PrisonAddress Ibm oKa o rrec/zoz/ /n&/?'
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                                City                        State                 Zip Code
         B.     For Attorneys
                Dateofsigning-
                             .               ,20 .

                SignatureofAttorney                                                 -    - -.
                Printed Nam eofAttorney                                                 - -         -



                Bar N um ber                                                                -   -



                Nam eofLaw Firm                                                     - -- --

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